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                    UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  RUMBLE INC.,

                     Plaintiff,

        v.
                                                Case No. 8:23-cv-02718-CEH-LSG
  NANDINI JAMMI, CLAIRE ATKIN, and
  JOHN DOE NOS. 1–10,

                     Defendants.

      PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

        Pursuant to Federal Rule of Civil Procedure 56(a), Plaintiff Rumble Inc.

  respectfully moves for partial summary judgment in its favor on the following

  elements of its claim for defamation: (1) of and concerning; (2) publication; and

  (3) falsity. Defendants Nandini Jammi and Claire Atkin have stipulated that the

  defamatory statements were of and concerning Rumble, and they do not dispute that

  they published the defamatory statements.1



  1 Pursuant to Middle District of Florida Local Rule 1.11, Rumble is filing
  concurrently with its Motion for Summary Judgment a Motion for Leave to File
  Under Seal certain redacted portions of its Memorandum of Law (denoted in red text
  in the unredacted version) and Exhibit U. It is also filing provisionally under seal
  exhibits H, O, P, T, W, X, and Z and information derived from those exhibits
  (denoted in green text in the unredacted versions of Rumble’s Memorandum of Law
  and the Declaration of Nicholas J. Brechbill) which Defendants have designated as
  “Confidential” or “Confidential – Attorneys’ Eyes Only” in accordance with the
  Parties’ Joint Confidentiality Agreement.
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                   UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
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  RUMBLE INC.,

                   Plaintiff,

       v.
                                              Case No. 8:23-cv-02718-CEH-LSG
  NANDINI JAMMI, CLAIRE ATKIN, and
  JOHN DOE NOS. 1–10,

                   Defendants.

            MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
              MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                     INTRODUCTION

        Defendants Claire Atkin and Nandini Jammi hate Rumble—a proudly content

  neutral video sharing platform that prides itself on its commitment to independence

  from Big Tech, like Google. They think Rumble is “the most toxic place on the

  internet.” (Ex. L.) And for years, they have tried to “demonetize[]” Rumble by

  spreading lies about its sources of revenue to paint Rumble as hypocritical,

  misleading its stakeholders, and subject to nonexistent material financial risks that

  have it teetering on the verge of collapse. (Ex. N.)

        Between August and October 2023, Defendants published four social media

  posts on X (formerly, Twitter) and an article on their website, CheckMyAds.org,

  falsely claiming that Rumble is “largely” and “heavily monetized” by Google Ads

  (Exs. M, R); “heavily dependent on Google Ads” (Ex. R); “90% funded by” Google

  Ads (Ex. L); and a “house of cards” that (Ex. K) “would not be viable” without

  Google Ads (Ex. Q). As Defendants knew, the claims they published about Rumble

  are false, and indisputably so.

        In late 2023, when Defendants published their false statements about Rumble,

  Rumble received about 1% of its total revenue from Google Ads. (Ex. U at

  Rumble00014673–74.)        Rumble was not “largely monetized” by, “heavily

  dependent” on, or vulnerable to collapse without the miniscule percentage of
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  revenue it received from Google Ads. Defendants published these lies—which they

  knew were false—expressly to harm Rumble’s business and reputation.

        So, why did Defendants peddle these lies about Rumble? Simple: they dislike

  the content posted by some content creators on the video sharing platform. Indeed,

  this is not the first time Defendants have tried to “defund” a media organization

  whose content they disagree with. For example, in late 2023, Defendants—through

  their organization Check My Ads—also sought to defund Fox News. (Ex. S.)

        Defendants purport to be adtech crusaders dedicated to “reshaping the digital

  adtech industry from within its ranks” by “holding the surveillance adtech industry

  accountable for abuses against advertisers and consumers.” (Ex. S.) In reality, they

  use their sizeable social media and online following as a bully pulpit to attack,

  disparage, and defame organizations they just do not like, like Rumble.

        Defendants admit that the statements on which Rumble’s claims are based

  were about Rumble. (Ex. Y.) They also do not contest that they published those

  statements. (Ex. Y.) And the record makes clear that those statements are false.

  (Ex. U.) The Court should grant Rumble’s Motion for Partial Summary Judgment.

                             FACTUAL BACKGROUND

        Rumble is a content-neutral online video sharing platform. (E.g., Ex. A.) As

  such, it permits users to publish content espousing diverse views across the political

  spectrum. (Id.) Rumble does not arbitrarily censor content based on political



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  viewpoint. (Id.) Defendants Nandini Jammi and Claire Atkin oppose Rumble and

  its mission because they disagree with the political views held by some content

  creators who post on Rumble. (See, e.g., Ex. L (Rumble is “the most toxic place on

  the internet.”); Ex. R (same).) Driven by their disdain for Rumble, Defendants

  waged a coordinated smear campaign based on false information to destroy

  Rumble’s business. (Ex. N.)

        Rumble has asserted claims against Jammi, Atkin, and unidentified John Doe

  defendants for defamation and defamation by implication based on statements

  Jammi and Atkin made in four separate posts on X between August and October

  2023 and in an article published on their website, CheckMyAds.org. (Am. Compl.

  ¶¶ 83–103, ECF No. 42; Exs. K, L, M, Q, R.)

        Defendants’ stated objective is to “demonetiz[e]” Rumble by damaging its

  business and brand, which Defendants know is built in part around Rumble’s

  commitment to independence from Big Tech. (Exs. N, R (“Rumble loves to boast

  about being free from Big Tech.”).) To harm Rumble’s brand and paint it as

  hypocritical, Defendants falsely claimed that Rumble is “heavily monetized” by and

  wholly dependent on Google Ads. (E.g., Ex. R.) They also claimed that, without

  Google Ads, Rumble “would not be viable.” (Ex. Q.)




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         Specifically, on May 21, 2023, Jammi posted on X (in response to a tweet

  from a content creator who posts content on Rumble) that Rumble’s multi-billion-

  dollar valuation was “just a garden variety grift.” (Ex. I.)

         On August 16, 2023, Jammi posted on X: “Rumble is all posturing, all the

  time. They’re not a Google Ads killer or even close to it – they depend on Google

  for their business. We’re talking a house of cards.” (Ex. K (emphasis added).)

         On September 26, 2023, Jammi posted on X that Rumble “is largely

  monetized through Google Video Partners,” and she included a link to a Check My

  Ads article with instructions for advertisers to block Rumble from their ad

  campaigns. (Ex. M (emphasis added).)

         The same day, Atkin posted on X: “Rumble, the most toxic place on the

  internet, is 90% funded by @GoogleAds,” and she included a link to the same Check

  My Ads article as Jammi containing instructions for advertisers to block Rumble

  from their ad campaigns. (Ex. L (emphasis added).)

         On October 3, 2023, Jammi posted on X: “Without @GoogleAds, Rumble

  would not be viable. … It’s criminal behavior by Google, which has promised brand

  safety to its clients.” (Ex. Q (emphasis added).)

         Defendants made similar claims in an article they published on the website

  for their non-profit organization, CheckMyAds.org, on October 24, 2023. That

  article said:



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        Rumble is heavily monetized by Google Ads. Rumble loves to boast
        about being free from Big Tech. In reality, the business appears to be
        heavily dependent on Google Ads, by far its largest advertising partner
        — and advertisers often have no idea their ads are appearing there.
        Rumble is part of Google Video Partners, which means Google dumps
        inventory there that many advertisers assume is going to YouTube.

        And it seems to know brands wouldn’t appreciate appearing next to
        some of Rumble’s content: it has taken steps to minimize the risk of
        advertisers waking up to screenshots of their ads next to Alex Jones’
        face. Its two-tier system for ads monetizes the worst videos through
        Rumble Ads, its in-house ad platform, while featuring Google Ads on
        mainstream channels, such as Reuters.

  (Ex. R (emphasis added).) The byline lists Jammi and Atkin as the authors.

        In addition, Defendants reached out directly to companies that advertised on

  Rumble, including                                                               , to

  convince those companies to block Rumble and stop advertising on the video sharing

  platform. (Exs. H, O, P.)2




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        In reality, as Defendants well knew, when they published their false

  statements between August and October 2023, the revenue Rumble received from

  Google Ads had precipitously declined since 2022, because Rumble created its own

  advertising platform—the Rumble Advertising Center (“RAC”)—prior to going

  public. Before launching RAC, 86% of Rumble’s total revenue in the first three

  quarters of 2021 was derived from Google Ads. (Ex. B.) By Q1 2022, after Rumble

  launched RAC in January 2022, that percentage had fallen to less than 56%. (Ex. C.)

  By Q2 2022, that percentage had fallen further to less than 45%––a fact that Rumble

  disclosed in its public SEC filings. (Ex. E.) And by Q3 2022, the revenue Rumble

  received from two advertising networks, Google Ads and another external

  advertising network, represented merely 19% of Rumble’s total revenue, a fact

  which Rumble once again reported in its public SEC filings and told to Jammi

  directly in a post on X. (Exs. D, F.)

        Since then, the percentage of revenue Rumble derives from Google Ads has

  continued its steep downward trajectory.        As such, Rumble stopped reporting

  revenue from Google Ads as a material financial risk in its securities filings. In fact,

  as of late 2023, Rumble’s revenue from Google ads was barely a rounding error on

  Rumble’s balance sheet. Between August and October 2023—when Defendants

  published their defamatory statements—Rumble derived about 1% of its revenue

  from Google Ads. (Ex. U at Rumble00014673–74.) This rapid decline was due in



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  large part to the roll out of RAC. (E.g., Ex. G at Rumble00005269 (“The increase

  in advertising revenue was driven by an increase in consumption as well the

  introduction of new advertising solutions for creators, publishers and advertisers,

  including host read advertising and our online advertising management exchange

  (‘Rumble Advertising Center’ or ‘RAC’), both of which we started to build and test

  in the second half of 2022.”).)

        In other words, when Defendants published their false and defamatory

  statements, Rumble was not heavily dependent on Google Ads. It was not (and is

  not) heavily or largely monetized by Google Ads. It did not (and does not) receive

  90% of its funding from Google Ads. It was not (and is not) a house of cards or

  garden variety grift. And it absolutely would have been (and is) viable without

  revenue from Google Ads.

                          PROCEDURAL BACKGROUND

        Rumble filed its Complaint on November 29, 2023. (ECF No. 1.) On April

  5, 2024, Defendants moved to dismiss and stay discovery. (ECF Nos. 30, 35.) On

  April 11, 2024, the Court entered a Case Management and Scheduling Order that set

  a March 4, 2025 deadline for the Parties to file dispositive motions. (ECF No. 37.)

        On April 26, 2024, Rumble filed an Amended Complaint. (ECF No. 42.) On

  May 10, 2024, Defendants once again moved to dismiss for failure to state a claim

  (ECF No. 44) and to stay all discovery pending a decision on their Motion to Dismiss



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  (ECF No. 46). On September 13, 2024, the Court denied Defendants’ Motion for a

  Stay of Discovery. (ECF No. 66.) Defendants’ Motion to Dismiss remains pending.3

        On November 27, 2024, the Parties filed a Joint Motion to Modify the

  Scheduling Order and extend all deadlines by six months, including the deadline for

  dispositive motions. (ECF No. 83.) The Parties agreed that the “existing schedule

  cannot be met despite the exercise of reasonable diligence” in part because the

  Parties were (and are) “unsure about what effect the Court’s forthcoming order on

  Defendants’ pending motion to dismiss will have on the scope and timeframe of this

  action.” (Id.) Notably, the Court indicated during oral argument that, “if it dismisses

  any of Rumble’s claims, it would most likely give Rumble an opportunity to amend

  its complaint with the benefit of the Court’s guidance.” (Id.)

        In light of the pending motion to dismiss and based on the Parties’ mutual

  belief that the Court would most likely give Rumble an opportunity to replead its

  claims, the Parties agreed to continue discovery beyond the deadline set in the

  Court’s Case Management and Scheduling Order. The Parties also agreed that they

  would proceed with depositions now, but that they could reserve time and reopen




  3Defendants’ Motion to Dismiss has been fully briefed, and a hearing was held on
  November 7–8, 2024.



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  those depositions once additional discovery is complete if the Court grants the

  pending Motion to Modify the Scheduling Order and extend discovery.4

                                LEGAL STANDARD

        “Summary judgment is appropriate ‘if the movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a

  matter of law.’” PI Telecom Infrastructure, LLC v. City of Jacksonville, 104 F. Supp.

  3d 1321, 1336 (M.D. Fla. 2015) (quoting Fed. R. Civ. P. 56(a)). “Only disputes of

  material fact are important at summary judgment,” and “‘[t]he mere existence of

  some factual dispute will not defeat summary judgment unless that factual dispute

  is material to an issue affecting the outcome of the case.’” McCormick v. City of

  Fort Lauderdale, 333 F.3d 1234, 1243 (11th Cir. 2003); see also Edmondson v.

  Velvet Lifestyles, LLC, 43 F.4th 1153, 1159–60 (11th Cir. 2022) (quoting Anderson

  v. Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986)) (“If there is not sufficient

  evidence for a jury to find for the non-moving party, or ‘[i]f the evidence is merely



  4 The parties have engaged, and continue to engage, in discovery in accordance with
  their prior agreements. Today, however, Defendants filed a Notice reneging on and
  withdrawing their consent to the Parties’ joint request to modify the scheduling
  order, in a clear attempt to prejudice Rumble. Because discovery remains ongoing
  and Defendants’ Motion to Dismiss remains pending (ECF No. 44), Rumble is only
  filing its Motion for Summary Judgment now under the Court’s current scheduling
  order out of an abundance of caution to preserve its rights given the existing
  deadline. Rumble reserves its right to file a successive Motion for Summary
  Judgment once the scope of the case is clearer, following a decision on Defendants’
  pending Motion to Dismiss.


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  colorable,’ ... then summary judgment is appropriate.”). “‘The principles governing

  summary judgment do not change when the parties file cross-motions for summary

  judgment.’” PI Telecom Infrastructure, 104 F. Supp. 3d at 1336.

        Under Florida law, a claim for defamation has the following elements:

  “(1) publication; (2) falsity; (3) actor must act with knowledge or reckless disregard

  as to the falsity on a matter concerning a public official, or at least negligently on a

  matter concerning a private person; (4) actual damages; and (5) statement must be

  defamatory.” Jews for Jesus, Inc. v. Rapp, 997 So. 2d 1098, 1106 (Fla. 2008); Reed

  v. Chamblee, 2023 WL 6292578, at *9 (M.D. Fla. Sept. 27, 2023) (publication must

  be “of and concerning” plaintiff).

                                       ARGUMENT

  I.    Defendants Stipulate That Their Defamatory Statements Are Of And
        Concerning Rumble.

        There is no dispute that the defamatory statements at issue in this action are

  “concerning” Rumble. Jews for Jesus, 997 So. 2d at 1106. The fact that they are

  about Rumble is obvious from the face of the statements, which all identify Rumble

  by name. (Exs. K, L, M, Q, R.) Although a defamatory statement need not identify

  a plaintiff by name to be of and concerning the plaintiff, where, as here, a statement

  does identify the plaintiff by name, there is no doubt that the of and concerning

  element is satisfied. See Tovarian v. Rubic, LLC, 2024 WL 5378093, at *4–5 (S.D.

  Fla. Nov. 13, 2024) (noting that “[t]here is no strict requirement in Florida that an


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  allegedly defamed person be named in a publication for the statement to be

  actionable” and holding that article at issue “unquestionably concern[ed] [plaintiff],

  by name and by implication”); accord Klentzman v. Brady, 456 S.W.3d 239, 254

  (Tex. App. 2014) (holding that an article which “mentioned [plaintiff] by name more

  than once” was necessarily of and concerning the plaintiff). Recognizing that they

  have no defense to this element of Rumble’s defamation claim, Defendants concede

  and stipulate that their statements are of and concerning Rumble. (Ex. Y.)

  II.   Defendants Do Not Dispute That They Published The Defamatory
        Statements About Rumble.

        The “publication” element of a defamation claim “only requires the

  dissemination of a false statement to a person other than the defamed person.”

  Klayman v. Jud. Watch, Inc., 22 F. Supp. 3d 1240, 1251 (S.D. Fla. 2014) (internal

  citations omitted).

        Defendants do not contest that their statements were published to third parties.

  (Ex. Y.) And for good reason. There is no question that Defendants’ defamatory X

  posts were disseminated to and viewed by hundreds of thousands of people on X.

  (Ex. K (4,798 views); Ex. L (365,300 views); Ex. M (23,100 views); Ex. Q (4,153

  views).) Likewise, there is no dispute that Jammi was solely responsible for the

  posts published on her personal X account, @nandoodles. (Ex. Z, Response to

  Interrog. No. 1 (                                                               ); Ex.

  V at 75:24–76:8; Ex. X at 65:17–22.) And there is no dispute that Atkin was solely


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  responsible for the defamatory post published on her personal X account,

  @catthekin. (Ex. Z, Response to Interrog. No. 1 (

                                                  ); see also Ex. V at 77:24–78:10; Ex.

  X at 67:1–4.)

        There is also no dispute that Defendants’ defamatory October 24, 2023 article

  was disseminated to a global internet audience via the Check My Ads website,

  CheckMyAds.org. (Ex. R; Ex. W at 126:21–22 (

                                                ); Ex. X (same).) The article was also




                                                                 (Ex. X at 21:3–6, 91:17–

  92:11.)

                                                                                    (Ex.

  X at 90:15–23.) Defendants are listed as the authors on the face of the article. (Ex.

  R; Ex. W at 127:15–17 (

                       ); Ex. V at 93:17–24; Ex. X at 92:17–24.) And Defendants

  concede that they                                   . (Ex. Z, Response to Interrog.

  No. 1 (

                                                      ); see also Ex. X at 97:4–12 (




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                                         (Ex. W at 27:9–22 (




                                                     ).)

         Thus, there is no factual dispute that Defendants published the defamatory

  statements about Rumble. See Coomer v. Byrne, 2025 WL 90097, at *5 (M.D. Fla.

  Jan. 14, 2025) (collecting cases and noting that “[t]he Florida Supreme Court has

  held that ‘every one who takes part in the publication ... is charged with

  publication’”); see also US Dominion, Inc. v. Fox News Network, LLC, 293 A.3d

  1002, 1040 (Del. Super. Ct. 2023) (similar).

  III.   The Defamatory Statements Defendants Published About Rumble Are
         False.

         The undisputed record evidence establishes that Defendants’ statements are

  false. Although “the question of falsity ... overlooks minor inaccuracies,” Kieffer v.

  Atheists of Fla., Inc., 269 So. 3d 656, 659 (Fla. 2d DCA 2019), there was nothing

  minor about the inaccuracies in Defendants’ statements. Defendants claimed that:

         •     Rumble was “heavily monetized by Google Ads” (Ex. R at
               Rumble00014708);

         •     Rumble’s “business appear[ed] to be heavily dependent on Google
               Ads” (id.);

         •     Rumble was “all posturing, all the time. They’re not a Google Ads


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              killer or even close to it – they depend on Google for their business.
              We’re talking a house of cards.” (Ex. K);

        •     Rumble is “90% funded by @GoogleAds” (Ex. L);

        •     Rumble is “largely monetized through Google Video Partners” (Ex.
              M); and

        •     “Without @GoogleAds, Rumble would not be viable” (Ex. Q).

        When Defendants made these false statements at the end of 2023, Rumble

  received less than 1% of its overall revenue from Google Ads—a far cry from the

  90% that Atkin claimed, and certainly not enough that Rumble would cease to be

  viable without Google Ads. (Ex. U at Rumble00014673–74.)

        Moreover, as Rumble’s public SEC filings show, the ad revenue that Rumble

  received from Google Ads had been on a sharp downward trajectory for two years

  prior to Defendants’ false and defamatory statements. In the first three quarters of

  2021, Rumble received 86% of its total revenue from Google Ads. (Ex. B.) By Q1

  2022, Rumble received 56% of its overall revenue from Google Ads and one other

  ad exchange. (Ex. C.) In Q2 2022, that percentage had fallen to 45%. (Ex. E.) And

  in Q3 2022—a full year before Defendants published their defamatory statements—

  the revenue Rumble received from Google Ads and another external advertising

  network represented only 19% of Rumble’s total revenue, a fact that Rumble

  conveyed directly to Jammi on X the year before their false and defamatory

  statements. (Ex. F.) In fact, in Q3 2022, Rumble only received 9% of its overall



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  revenue from Google Ads. (Am. Compl. ¶15; Ex. U at Rumble00014671.)

        In reality, Rumble has never earned more than              of its total revenue from

  Google ads in any month between September 2022 (the end of Q3) and September

  2024. (Ex. U at Rumble00014671–76.) In 2023, Rumble only earned                     of its

  total annual revenue from Google Ads, and for the first three quarters of 2024,

  Rumble only earned           of its total revenue from Google Ads.             (Ex. U at

  Rumble00014677.)

        In addition, an October 2022 study published by Media Matters for

  America—an organization whose publications Defendants and Check My Ads often

  cite to and rely on (see, e.g., Ex. R at Rumble00014707)—stated that “Google’s ad

  network made up 2% of total advertiser spending on Rumble.com in the last year.”

  (Ex. AA.) Brandon Hardin, a former Check My Ads employee who edited the

  October 24, 2023 article, testified that

                                                            . (Ex. X at 141:18–142:4

  (




                                                                                ).)

        The explanation for Rumble’s decreased reliance on Google Ads is obvious:

  Rumble’s in-house advertising platform, RAC, started generating revenue in January



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  2022, and Rumble has significantly increased the amount of ad revenue generated

  through RAC—and decreased the amount of ad revenue generated through Google

  Ads—since. Defendants were well aware of RAC, as their social media posts

  demonstrate. (Ex. J (X post with screenshot from Rumble SEC filing explaining that

  Rumble’s “increase in advertising revenue” in Q1 2023 was “driven by ... the

  introduction of new advertising solutions ... including ... our online advertising

  management exchange (RAC)”); Ex. K.) Defendants even reference RAC in the

  October 24, 2023 Check My Ads article. (Ex. R at Rumble00014708 (referring to

  “Rumble Ads, its in-house ad platform”).) Nonetheless, they disregarded this

  information, the information in Rumble’s public SEC filings, and the information

  that Rumble shared directly with Jammi on X in pursuit of their preconceived

  takedown narrative aimed at demonetizing Rumble.

        Defendants contend that their statements are not “false under the applicable

  substantial truth standard.” (Ex. Y.) Not so. Florida law of substantial truth is clear,

  and the Florida Supreme Court has expressly held that “‘a statement is substantially

  true if its substance or gist conveys essentially the same meaning that the truth would

  have conveyed.’” Jews for Jesus, 997 So. 2d at 1107 (italics in original). The

  substance or gist of Defendants’ statements is that Rumble’s business was wholly

  reliant on revenue derived from Google Ads for its survival, and without that

  revenue, Rumble would have ceased to exist as a going concern. The truth, however,



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  is that, when Defendants made their defamatory statements (and for nearly a year

  prior), revenue from Google Ads was little more than a rounding error on Rumble’s

  balance sheet. Far from being substantially true, the gist of Defendants’ statements

  was not even remotely true. Thus, the Court should grant summary judgment in

  Rumble’s favor on falsity.

                                    CONCLUSION

        The Court should grant Rumble’s Motion for Partial Summary Judgment and

  issue an Order that there is no factual dispute that the defamatory statements at issue

  were (1) of and concerning Rumble, (2) published by Defendants, and (3) false.

                     LOCAL RULE 3.01(G) CERTIFICATION

        Counsel for Rumble conferred with counsel for Defendants via email on

  February 25 and 26, 2025. Defendants stipulate that the statements were of and

  concerning Rumble. They do not contest that they published the statements. They

  contest that the statements are not substantially true. (Ex. Y.)




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   Dated: March 4, 2025         Respectfully submitted,

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